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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA : STIPULATION
-v.- 11 Cr. 205 (UA)
HUGO ARMANDO CARVAJAL-BARRIOS,
Defendant.
x

Upon the application of the United States, by the United States Attorney for the Southern

District of New York, Preet Bharara, by Assistant United States Attorneys Michael D. Lockard

and Adam Fee;

It is found that the indictment and arrest warrant in the above-captioned action are

currently sealed and the United States Attorney’s Office has applied to have the indictment and

arrest warrant unsealed, it is therefore

ORDERED that the indictment and arrest warrant in the above-captioned action be

unsealed for all purposes.

Dated: New York, New York

Jul , 2014
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